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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

(ATLANTA DIVISION)
SECURITIES AND EXCHANGE
COMMISSION,
Plaintiff,
Civil A. No.

V.

MICHAEL K. MOLEN, et al.,

Defendants.

CONSENT OF DEFENDANT MICHAEL K. MOLEN

l. Defendant Michael K. Molen (“Defendant”) waives service of a
summons and the complaint in this action, enters a general appearance, and admits
the Court’s jurisdiction over Defendant and over the subject matter of this action.

2. Without admitting or denying the allegations of the complaint (except
as provided herein in paragraph 13 and except as to personal and subject matter
jurisdiction, which Defendant admits), Defendant hereby consents to the entry of
the Judgment in the form attached hereto (the “Judgment”’) and incorporated by
reference herein, which, among other things:

(a) permanently restrains and enjoins Defendant from violations of

Section 5 of the Securities Act of 1933 (“Securities Act’) [15

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U.S.C. § 77e], Section 17(a) of the Securities Act [15 U.S.C.

§ 77q(a)], Section 10(b) of the Securities Exchange Act of 1934
(“Exchange Act’) [15 U.S.C. § 78j(b)], and Rule 10b-5
thereunder [17 C.F.R. § 240.10b-5], as specified in the
Judgment;

(b) prohibits and enjoins Defendant from acting as an officer or
director of any issuer that has a class of securities registered
pursuant to Section 12 of the Exchange Act [15 U.S.C. § 781] or
that is required to file reports with the Commission pursuant to
Section 15(d) of the Exchange Act [15 U.S.C. § 780(d)]; and

(c) prohibits and enjoins Defendant from participating in an
offering of penny stock, as defined by Rule 3a51-1 under the
Exchange Act [17 C.F.R. § 240.3a51-1], including engaging in
activities with a broker, dealer, or issuer for purposes of issuing,
trading, or inducing or attempting to induce the purchase or sale
of any penny stock.

Bs Defendant acknowledges that the civil penalty paid pursuant to the
Judgment may be distributed pursuant to the Fair Fund provisions of
Section 308(a) of the Sarbanes-Oxley Act of 2002. Regardless of whether any such

Fair Fund distribution is made, the civil penalty shall be treated as a penalty paid to
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the government for all purposes, including all tax purposes. To preserve the
deterrent effect of the civil penalty, Defendant agrees that he shall not, after offset
or reduction of any award of compensatory damages in any Related Investor
Action based on Defendant’s payment of disgorgement in this action, argue that he
is entitled to, nor shall he further benefit by, offset or reduction of such
compensatory damages award by the amount of any part of Defendant’s payment
of a civil penalty in this action (“Penalty Offset”). If the court in any Related
Investor Action grants such a Penalty Offset, Defendant agrees that he shall, within
30 days after entry of a final order granting the Penalty Offset, notify the
Commission’s counsel in this action and pay the amount of the Penalty Offset to
the United States Treasury or to a Fair Fund, as the Commission directs. Such a
payment shall not be deemed an additional civil penalty and shall not be deemed to
change the amount of the civil penalty imposed in this action. For purposes of this
paragraph, a “Related Investor Action” means a private damages action brought
against Defendant by or on behalf of one or more investors based on substantially
the same facts as alleged in the complaint in this action.

4. Defendant agrees that he shall not seek or accept, directly or
indirectly, reimbursement or indemnification from any source, including but not
limited to payment made pursuant to any insurance policy, with regard to any civil

penalty amounts that Defendant pays pursuant to the Judgment, regardless of
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whether such penalty amounts or any part thereof are added to a distribution fund
or otherwise used for the benefit of investors. Defendant further agrees that he
shall not claim, assert, or apply for a tax deduction or tax credit with regard to any
federal, state, or local tax for any penalty amounts that Defendant pays pursuant to
the Judgment, regardless of whether such penalty amounts or any part thereof are
added to a distribution fund or otherwise used for the benefit of investors.

5. Defendant agrees that the Court shall order disgorgement of ill-gotten
gains, prejudgment interest thereon, and a civil penalty pursuant to Section 20(d)
of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange
Act [15 U.S.C. § 78u(d)(3)]. Defendant further agrees that the amounts of the
disgorgement and civil penalty shall be determined by the Court upon motion of
the Commission, and that prejudgment interest shall be calculated from no later
than May 18, 2017, based on the rate of interest used by the Internal Revenue
Service for the underpayment of federal income tax as set forth in 26 U.S.C.
§ 6621(a)(2). Defendant further agrees that in connection with the Commission’s
motion for disgorgement and/or civil penalties, and at any hearing held on such a
motion: (a) Defendant will be precluded from arguing that he did not violate the
federal securities laws as alleged in the complaint; (b) Defendant may not
challenge the validity of this Consent or the Judgment; (c) solely for the purposes

of such motion, the allegations of the complaint shall be accepted as and deemed
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true by the Court; and (d) the Court may determine the issues raised in the motion
on the basis of affidavits, declarations, excerpts of sworn deposition or
investigative testimony, and documentary evidence, without regard to the standards
for summary judgment contained in Rule 56(c) of the Federal Rules of Civil
Procedure. In connection with the Commission’s motion for disgorgement and/or
civil penalties, the parties may take discovery, including discovery from
appropriate non-parties.

6. Defendant waives the entry of findings of fact and conclusions of law
pursuant to Rule 52 of the Federal Rules of Civil Procedure.

7. Defendant waives the right, if any, to a jury trial and to appeal from

the entry of the Judgment.

8. Defendant enters into this Consent voluntarily and represents that no
threats, offers, promises, or inducements of any kind have been made by the
Commission or any member, officer, employee, agent, or representative of the
Commission to induce Defendant to enter into this Consent.

2 Defendant agrees that this Consent shall be incorporated into the
Judgment with the same force and effect as if fully set forth therein.

10. Defendant will not oppose the enforcement of the Judgment on the

ground, if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of

Civil Procedure, and hereby waives any objection based thereon.
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11. Defendant waives service of the Judgment and agrees that entry of the
Judgment by the Court and filing with the Clerk of the Court will constitute notice
to Defendant of its terms and conditions. Defendant further agrees to provide
counsel for the Commission, within thirty days after the Judgment is filed with the
Clerk of the Court, with an affidavit or declaration stating that Defendant has
received and read a copy of the Judgment.

12. Consistent with 17 C.F.R. § 202.5(f), this Consent resolves only the
claims asserted against Defendant in this civil proceeding. Defendant
acknowledges that no promise or representation has been made by the Commission
or any member, officer, employee, agent, or representative of the Commission with
regard to any criminal liability that may have arisen or may arise from the facts
underlying this action or immunity from any such criminal liability. Defendant
waives any claim of Double Jeopardy based upon the settlement of this proceeding,
including the imposition of any remedy or civil penalty herein. Defendant further
acknowledges that the Court’s entry of a permanent injunction may have collateral
consequences under federal or state law and the rules and regulations of self-
regulatory organizations, licensing boards, and other regulatory organizations.
Such collateral consequences include, but are not limited to, a statutory
disqualification with respect to membership or participation in, or association with

a member of, a self-regulatory organization. This statutory disqualification has
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consequences that are separate from any sanction imposed in an administrative
proceeding. In addition, in any disciplinary proceeding before the Commission
based on the entry of the injunction in this action, Defendant understands that he
shall not be permitted to contest the factual allegations of the complaint in this
action.

13. Defendant understands and agrees to comply with the terms of 17
C.F.R. § 202.5(e), which provides in part that it is the Commission’s policy “not to
permit a defendant or respondent to consent to a judgment or order that imposes a
sanction while denying the allegations in the complaint or order for proceedings,”
and “a refusal to admit the allegations is equivalent to a denial, unless the
defendant or respondent states that he neither admits nor denies the allegations.”
As part of Defendant’s agreement to comply with the terms of Section 202.5(e),
Defendant: (i) will not take any action or make or permit to be made any public
statement denying, directly or indirectly, any allegation in the complaint or
creating the impression that the complaint is without factual basis; (ii) will not
make or permit to be made any public statement to the effect that Defendant does
not admit the allegations of the complaint, or that this Consent contains no
admission of the allegations, without also stating that Defendant does not deny the
allegations; (iii) upon the filing of this Consent, Defendant hereby withdraws any

papers filed in this action to the extent that they deny any allegation in the
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complaint; and (iv) stipulates solely for purposes of exceptions to discharge set
forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, that the allegations
in the complaint are true, and further, that any debt for disgorgement, prejudgment
interest, civil penalty or other amounts due by Defendant under the Judgment or
any other judgment, order, consent order, decree or settlement agreement entered
in connection with this proceeding, is a debt for the violation by Defendant of the
federal securities laws or any regulation or order issued under such laws, as set
forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19). If
Defendant breaches this agreement, the Commission may petition the Court to
vacate the Judgment and restore this action to its active docket. Nothing in this
paragraph affects Defendant’s: (i) testimonial obligations; or (ii) right to take legal
or factual positions in litigation or other legal proceedings in which the
Commission is not a party.

14. Defendant hereby waives any rights under the Equal Access to Justice
Act, the Small Business Regulatory Enforcement Fairness Act of 1996, or any
other provision of law to seek from the United States, or any agency, or any
official of the United States acting in his or her official capacity, directly or
indirectly, reimbursement of attorney’s fees or other fees, expenses, or costs

expended by Defendant to defend against this action. For these purposes,
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Defendant agrees that Defendant is not the prevailing party in this action since the
parties have reached a good faith settlement.

15. Defendant agrees that the Commission may present the Judgment to
the Court for signature and entry without further notice.

16. Defendant agrees that this Court shall retain jurisdiction over this

matter for the purpose of enforcing the terms of the Judgment.

Dated: /: Z/ 2022

chael K. Molen

On Cobember 41, 2022, Michael K. Molen, a person known to me,
personally appeared before me and acknowledged executing the foregoing

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Notary Public
Commission expires: Mori [L, LOLb

Approved as to form:

JOHANA CEDILLOS
NOTARY PUBLIC
Gwinnett County
State of Georgia
My Comm. Expires April 12, 2026

Kevin Galbraith, Esq.

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Attorney for Defendant
